Case 1:18-cv-01124-MMS Document 44 Filed 05/28/24 Page 1 of 2




              NOTE: This order is nonprecedential.

      United States Court of Appeals
          for the Federal Circuit
                    ______________________

     WAZEE STREET OPPORTUNITIES FUND IV LP,
       DOUGLAS WHITLEY, LISA A. BROWN, On
      Behalf of Themselves and All Others Similarly
      Situated, WAZEE STREET OPPORTUNITIES
                      FUND V LP,
                   Plaintiffs-Appellants

                                v.

                      UNITED STATES,
                      Defendant-Appellee
                    ______________________

                          2024-1378
                    ______________________

       Appeal from the United States Court of Federal Claims
    in No. 1:18-cv-01124-MMS, Senior Judge Margaret M.
    Sweeney.
                    ______________________

                           ORDER
       The parties having so agreed, it is ordered that:
       (1) The proceeding is DISMISSED under Fed. R. App.
           P. 42 (b).
Case 1:18-cv-01124-MMS Document 44 Filed 05/28/24 Page 2 of 2




    2           WAZEE STREET OPPORTUNITIES FUND IV LP V. US



        (2) Each side shall bear their own costs.




                                            FOR THE COURT




    May 28, 2024
       Date



    ISSUED AS A MANDATE: May 28, 2024
